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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                  )
THE SATANIC TEMPLE, INC.,                         )
                                                  )
               Plaintiff,                         )
                                                  )
                                                             Case No. 21-CV-10102-AK
               v.                                 )
                                                  )
CITY OF BOSTON, MA,                               )
                                                  )
               Defendants.                        )
                                                  )


                                             ORDER

A. KELLEY, D.J.

        Plaintiff The Satanic Temple, Inc. (hereinafter, “Plaintiff” or “TST”), filed a motion for

reconsideration [Dkt. 55] pursuant to Rules 60(b)(5) and (6) requesting that this Court vacate its

July 21, 2021, order [Dkt. 21] dismissing Plaintiff’s Free Speech/Free Exercise claim [see Dkt.

16 (“Am. Compl.”) ¶¶ 91-99 ], which the Defendant, the City of Boston, Massachusetts

(hereinafter “Boston”), opposes [Dkt. 56]. For the reasons set forth below, Plaintiff’s motion for

reconsideration is DENIED.



   I.      LEGAL STANDARD

         Rule 60 provides that on motion and just terms, a district court may relieve a party from

a final judgment or order. See Fed. R. Civ. P. 60. “Relief under Rule 60(b) is extraordinary in

nature and . . . motions invoking that rule should be granted sparingly.” Giroux v. FNMA, 810

F.3d 103, 106 (1st Cir. 2016) (quoting Karak v. Bursaw Oil Corp., 288 F.3d 15, 19 (1st Cir.

2002)). For a Rule 60(b) motion to succeed, the movant must prove to the district court that, at a




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bare minimum, (1) its motion is timely; (2) exceptional circumstances favoring the relief are

present; (3) if the order or judgment were set aside, it would have a meritorious claim or defense;

and (4) if the order or judgment were set aside, the opposing parties would not be subjected to

unfair prejudice. See id. Rule 60 is separated into six subsections, each of which “describes a

particular basis for relief from judgment.” Id. (quoting Ungar v. Palestinian Liberation Org., 599

F.3d 79, 83 (1st Cir. 2010)).



    II.      DISCUSSION

          Plaintiff filed the instant motion for reconsideration on July 21, 2022, just under three

months after the Supreme Court’s decision in Shurtleff v. City of Boston, 142 S. Ct. 1583

(2022), and twenty-five days after its decision in Kennedy v. Bremerton School District, 142 S.

Ct. 2407 (2022). Because Plaintiff filed its motion within a reasonable time after the decisions it

cites to justify its request for relief, its motion is timely.



             a. Relief under Rule 60(b)(5)

          Plaintiff first argues that after the Supreme Court’s decisions in Shurtleff and Kennedy,

this Court’s “order of dismissal clashes with the current state of the law and must be vacated.”

[Dkt. 55 at 1]. Plaintiff also alleges that this Court’s order “is no longer equitable” under Rule

60(b)(5). [Id.]. Because Plaintiff fails to establish that the law upon which this Court’s dismissal

was based on was reversed or vacated, and the order of dismissal is not an order with prospective

application, Plaintiff is not authorized relief under Rule 60(b)(5).

          Rule 60(b)(5) “describes three sets of circumstances in which relief from a final judgment

may be justified.” Villeneuve v. Avon Products, Inc., 977 F.3d 89, 92 (1st Cir. 2020) (quoting




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Comfort v. Lynn School Committee, 560 F.3d 22, 27 (1st Cir. 2009)). Under the rule, “a court

may grant relief from a final judgment when: [t]he judgment has been satisfied, released or

discharged; it is based on an earlier judgment that has been reversed or vacated; or applying it

prospectively is no longer equitable.” Comfort, 560 F.3d at 26. A decision is “based on” an

earlier judgment when that prior judgment is “a necessary element of the decision, giving rise,

for example, to the cause of action or a successful defense. It is not sufficient that the prior

judgment provides only precedent for the decision.” Lubben v. Selective Serv. Sys. Loc. Bd. No.

27, 453 F.2d 645, 650 (1st Cir. 1972) (internal citations omitted).

       This Court’s decision to dismiss Count II, the Free Speech and Free Exercise claim of

Plaintiff’s amended complaint, was not “based on” any of the underlying decisions impacted by

either Shurtleff or Kennedy. See Lubben, 453 F.2d at 647. Though this case, Shurtleff, and

Kennedy all involve questions regarding the First Amendment right to free speech, the facts of

each case are easily distinguishable from each other. This case concerns whether the City of

Boston unconstitutionally denied Plaintiff’s requests to lead an invocation at the start of city

council meetings in 2016 and 2017. [Am. Compl. ¶ 23]. In its order dismissing Count II, this

Court found that the invocation given at the start of each City Council meeting is government

speech, and because government speech is not subject to scrutiny under the Free Speech Clause

of the Constitution, Count II of Plaintiff’s Amended Complaint must be dismissed. [Dkt. 21 at

7]. Far from being based on a decision that would be affected by the Shurtleff or Kennedy

opinions, this Court did not rely on any of the precedent that either of those decisions evaluated.

[See id. at 6–8]. Further, even if this Court had cited one of those underlying decisions in its

reasoning to dismiss Count II, Rule 60(b)(5) “does not authorize relief from a judgment on the

ground that the law applied by the court in making its adjudication has been subsequently




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overruled or declared erroneous in another and unrelated proceeding.” Lubben, 453 F.2d at 650;

see also Comfort, 560 F.3d at 27 (“a change in applicable law does not provide sufficient basis

for relief” under Rule 60(b)(5)).

       In fact, the two recent Supreme Court decisions appear to further affirm this Court’s

reasoning in deciding to dismiss Count II. Plaintiff argues that “the Supreme Court held that

Boston abused the Government Speech doctrine to further viewpoint discrimination” and that

“speech is not ‘government speech’ unless the government exerts ‘active control’ over the

subject of the message sought to be accommodated.” [Dkt. 55 at 2] (citing Shurtleff, 142 S. Ct. at

1592). Though the Shurtleff Court held that “Boston’s refusal to let Shurtleff and Camp

Constitution raise their flag based on its religious viewpoint abridged their freedom of speech,”

Plaintiff’s interpretation of that holding misses the mark. Shurtleff, 142 S. Ct. at 1587. In

Shurtleff, the Supreme Court applied the government speech doctrine to the specific facts in that

case, which led to the conclusion that “Boston's flag-raising program does not express

government speech.” Id. at 1593. In reaching that holding, the Supreme Court was clear in

reaffirming the process by which courts must analyze whether actions by the government

constitute the government speaking for itself versus improper regulation of private speech:

       In answering these questions, we conduct a holistic inquiry designed to determine
       whether the government intends to speak for itself or to regulate private expression. Our
       review is not mechanical; it is driven by a case’s context rather than the rote application
       of rigid factors. Our past cases have looked to several types of evidence to guide the
       analysis, including: the history of the expression at issue; the public’s likely perception as
       to who (the government or a private person) is speaking; and the extent to which the
       government has actively shaped or controlled the expression.

Shurtleff, 142 S. Ct. at 1589–90 (citing Walker v. Texas Div., Sons of Confederate Veterans,

Inc., 576 U.S. 200, 209–14 (2015). Far from a development in “the state of law arising out of the

Free Speech and Free Exercise Clauses,” that would somehow alter the law upon which this




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Court’s order dismissing Plaintiff’s Free Speech and Free Exercise claim was based, the

Shurtleff opinion does just the opposite: it affirms the very same doctrine the Court used. See

Shurtleff, 142 S. Ct. at 1589–90. For clarity, the Court takes a moment to contrast the Shurtleff

and Kennedy opinions to its dismissal order in this case.

       In Shurtleff, the Supreme Court considered whether the City of Boston violated the First

Amendment’s Free Speech Clause by refusing to allow a Camp Constitution, a Christian

organization, to fly a Christian flag via its program allowing private groups to use one of the

three flag poles on the plaza in front of city hall. 142 S. Ct. at 1587. The Court found that

Boston’s actions did not constitute government speech on the basis of, inter alia, “the city’s lack

of meaningful involvement in the selection of flags or the crafting of their messages.” Id. at

1593. Because the Court thus categorized the city’s flag-raising program was classified as

private, rather than government speech, its refusal to allow the Christian organization to fly their

flag violated the Free Speech Clause. See id.

       Likewise, the Kennedy Court analyzed whether a school district violated a high school

football coach’s rights under the Free Speech and Free Exercise Clauses of the Constitution by

firing him for “private religious expression” when he knelt to pray at midfield after football

games. 142 S. Ct. at 2417. The Kennedy Court determined the coach was engaged in private

speech, not government speech attributable to the school district when he prayed at midfield

because he “was not engaged in speech ordinarily within the scope of his duties as a coach . . .

did not speak pursuant to government policy . . . was not seeking to convey a government-

created message,” nor was he “instructing players, discussing strategy, encouraging better on-

field performance, or engaged in any other speech the District paid him to produce as a coach.”

Id. at 2424 (internal quotations and citations omitted) Though the Court used a different analysis




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to determine whether the coach’s speech was private or governmental, see id. at 2421–25, it did

so because the coach’s claim involved his status as a government employee. Id. at 2423 (“To

account for the complexity associated with the interplay between free speech rights and

government employment, this Court's decisions in Pickering v. Board of Ed. of Township High

School Dist. 205, Will Cty., 391 U.S. 563 (1968), Garcetti v. Ceballos, 547 U.S. 410, and related

cases suggest proceeding in two steps”). As in Shurtleff, the Kennedy Court merely affirmed the

precedents for analyzing government speech—albeit in a different factual context not applicable

to this case. See id. at 2421–25.

       Here, Plaintiff is not a government employee like the Kennedy plaintiff, so the Court did

not conduct its analysis using the Pickering–Garcetti framework. [See Dkt. 21 at 6–8].

Likewise, though Plaintiff is a religious organization like one of the Shurtleff plaintiffs, the facts

of the two cases are distinguishable. In dismissing Plaintiff’s Free Speech Clause claim, this

Court followed the proper government speech analysis that the Supreme Court reaffirmed in

Shurtleff, citing several of the same precedents, including Walker, 576 U.S. 200, and Pleasant

Grove City v. Summum, 555 U.S. 460 (2009). Compare [Dkt. 21 at 6–8] with Shurtleff, 142 S.

Ct. at 1589–93. The facts of this case support this Court’s conclusion that Boston’s actions

regarding the city council’s legislative prayer selection amounted to government speech [see

Dkt. 21 at 7], whereas the facts in Shurtleff did not, see 142 S. Ct. at 1589–93. The Shurtleff

Court even acknowledged that had Boston’s flag-raising program constituted government

speech, “Boston may [have] refuse[d] flags based on viewpoint.” Id. at 1589. Even if Shurtleff

or Kennedy had vacated or reversed a precedent this Court cited in its dismissal, “a change in

applicable law does not provide sufficient basis for relief,” Comfort, 560 F.3d at 27.




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       Next, the Court analyzes whether its order to dismiss has a prospective application that

“is no longer equitable.” Fed. R. Civ. P. 60(b)(5). The First Circuit has understood “the class of

judgments having prospective application (sometimes referred to as ‘prospective force’) to be

restricted to forward-looking judgments, such as injunctions and consent decrees.” Comfort, 560

F.3d at 28. The Court’s order of dismissal is not forward-looking; it merely dismisses a portion

of Plaintiff’s complaint. [See Dkt. 21 at 6–8]. The dismissal is a final judgment which does not

qualify for relief under Rule 60(b)(5). As a result, both of Plaintiff’s arguments under Rule

60(b)(5) fail to show that it would have a meritorious claim were the previous dismissal of Count

II to be set aside, and accordingly, its request under that rule is denied.

           b. Relief under Rule 60(b)(6)

       Finding no relief under Rule 60(b)(5), the Court turns next to the Plaintiff’s invocation of

Rule 60(b)(6). If litigants are not afforded relief under Rule 60(b)(1)–(5), they may seek relief

under the rule’s “catch all provision,” which “authorizes the district court to grant relief from

judgment for ‘any other reason that justifies relief.’” Giroux, 810 F.3d at 108 (quoting Ungar,

599 F.3d at 83). This catch all provision is not limitless in its scope; for a motion to succeed

under Fed. R. Civ. P. 60(b)(6), “[t]he reason asserted must be one other than those enumerated in

60(b) (1)–(5), and must be sufficient to justify the relief sought.” Lubben, 453 F.2d at 651. The

Court finds no grounds for relief under the residual clause of Rule 60(b)(6).

       Plaintiff mentions Rule 60(b)(6) twice is in its motion’s introduction, and not after. [See

Dkt. 55 at 1] (“See FRCP (60(b)(6) (any other reason that justifies relief),” and “The order of

dismissal clashes with the current state of the law and must be vacated. FRCP 60(b)(5), (6)”). It

does not provide any legal or factual bases which would allow the Court to analyze whether it

could grant relief under this rule. Instead, Plaintiff inaccurately alleges a change in “the current




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state of the law” as discussed above in the Court’s analysis of Rule 60(b)(5), and additionally, a

novel argument that attempts to impute the Establishment Clause’s bar to governmental hostility

or coercion into the Free Speech Clause’s active control doctrine. These arguments are without

merit. In its order dismissing Count II, this Court analyzed the Free Speech and Establishment

clauses separately. [See Dkt. 21 at 6–12]. As discussed above, the Supreme Court recently

reaffirmed its government speech doctrine, which inherently address the issue of whether the

government exhibited active control over the speech. Lastly, because Plaintiff’s novel attempt to

impute the Establishment Clause’s bar against government hostility or coercion of religion is not

grounded in any precedent, its legal argument does not qualify as a reason “other than those

enumerated in 60(b)(1)–(5),” nor is it “sufficient to justify the relief sought.” Lubben, 453 F.2d

at 651. Accordingly, Plaintiff cannot be granted relief under Rule 60(b)(6).



   III.      CONCLUSION

          For the foregoing reasons, Plaintiff’s Motion for Reconsideration [Dkt. 55] is DENIED.



          SO ORDERED.

December 6, 2022                                                   /s/ Angel Kelley
                                                                 ANGEL KELLEY
                                                                U.S. DISTRICT JUDGE




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